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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                        CRIMINAL MINUTES – GENERAL


Case No.        2:23-cr-00095-FMO-1                                                           Date: September 25, 2023


Present: The Honorable: Margo A. Rocconi, United States Magistrate Judge


Interpreter None

                 Valerie Velasco                          C/S 9/25/2023                      Skyler Cho and Miri Song
                   Deputy Clerk                      Court Reporter / Recorder                     Assistant U.S. Attorney


  U.S.A. v. Defendant(s)           Present Cust    Bond                Attorneys for Defendants:                Present     App
  Ret
  Cole Matthew Harris               X      X                           Caleb E. Mason                             X               X




Proceedings: STATUS HEARING

        The case was called and counsel made their appearances for the record. Also present is Verenice Gardea
and Samuel Hernandez, on behalf of the United States Probation and Pretrial Service Office. The Court
addressed the Defendant for an update on the potential sale of his San Marino residence. The Court orders that
the Defendant provide a brief on their request to the Court to modify the Defendant’s bond conditions to allow
for less strict supervision, along with an update regarding the status on the Arcadia property. The brief is due
no later than Thursday, October 12, 2023. The Government may respond thereafter. The Court sets a further
status conference for Monday, October 16, 2023 at 11:00 a.m.




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                                                                               Initials of Deputy Clerk                vv




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